Case 3:18-cv-01617-MEM Document 1-15 Filed 08/16/18 Page 1 of 4

EXHIBIT N
Case 3:18-cv-01617-MEM Document 1-15 Filed 08/16/18 Page 2 of 4

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" Prepared by and Return to: Powlette & Field, LLC.
508 Park Avenue Stroudsburg, Pennsylvania 18360

Phone: (570) 424-8037
Parcel ID # 17/15E/1/33

THIS INDENTURE made the 2Y day of See lem bey in the year of Two Thousand
Sixteen (2016). a.

BETWEEN

ANTONIO LUIS GUTIERREZ, SINGLE
(hereinafter called the Grantor), of the one part

and

PAUL GUTIERREZ, A MARRIED MAN
(hereinafter called the Grantee), of the other part

WITNESSETH that the said Grantor for and in consideration of the sum of One and 00/100 Dollar
($1.00) lawful money of the United States of America, unto him well and truly paid by the said
Grantee, at or before the sealing and delivery hereof, the receipt whereof is hereby acknowledged,
has granted, bargained and sold, released and confirmed, and by these presents does grant, bargain
and sell, release and confirm unto the said Grantee, described herein, in wit;

ALL THAT CERTAIN lot or lots, parcel or piece of ground situate in the Township of Stroud,
Monroe County, Commonwealth of Pennsylvania, being Lot No. 33, Section Il, as is more
particularly set forth on the Plot Map of Cranberry Hill Corporation, Penn Estates, as same is
duly recorded in the Office for the Recording of Deeds, etc., Stroudsburg, Monroe County,
Pennsylvania in Plat Book Volume 32, Page(s) 123, 125.

BEING THE SAME PREMISES which CARLOS E. ANDAGANA and JEANNETH C. GONZALEZ,

by their deed dated April 8, 2016 and recorded in the Office for Recording of Deeds, Monroe
County Pennsylvania on April 13, 2016 in Deed Book 2469 Page 8249 granted and conveyed
unto ANTONIO LUIS GUIERREZ, grantor hereof, in fee.

THIS CONVEYANCE IS EXEMPT FROM THE PAYMENT OF REALTY TRANSFER TAX IN THAT
THIS IS A BROTHER TO BROTHER TRANSACTION.

UNDER AND SUBJECT TO Covenants, Conditions and Restrictions as appear in the chain of title in
the Recorder of Deeds of Monroe County.

TOGETHER WITH all and singular the buildings and improvements, ways, streets, alleys,
driveways, passages, waters, water-courses, rights, liberties, privileges, hereditaments and
appurtenances, whatsoever unto the hereby granted premises belonging, or in anywise
appertaining, and the reversions and remainders, rents, issues, and profits thereof; and all the
estate, right, title, interest, property, claim and demand whatsoever of him, the said Grantor, as well
at law as in equity, of, in and to the same.
Case 3:18-cv-01617-MEM Document 1-15 Filed 08/16/18 Page 3 of 4

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* TO HAVE and to hold the said Jot or piece of ground described above, with the buildings and
improvements thereon erected, hereditaments and premises hereby granted, or mentioned and
intended so to be, with the appurtenances, unto the said Grantee, his heirs and assigns, to and for
the only proper use and behoof of the said Grantee, his heirs and assigns, forever.

AND the said Grantor, for himself and his heirs, executors and administrators, does, by these
presents, Covenant, grant and agree, to and with the said Grantee, his heirs and assigns, that he, the
said Grantor, and his heirs, all and singular the hereditaments and premises herein described and
granted, or mentioned and intended so to be, with the appurtenances, unto the said Grantee, his
heirs and assigns, against him, the said Grantor, and his heirs, will warrant and defend against the
lawful claims of all persons claiming by, through or under the said Grantor but not otherwise,

IN WITNESS WHEREOF, the party of the first part has hereunto set his hand and seal. Dated the

day and year first above written,
Antonio Lu}yutierrer

State of Now kesery
County of PLE 7 } ‘

A
On this, the eth day of Sopln pe , 2016, before me, the undersigned Notary
Public, personally appeared Antonio Luis Gutierrez, known to me (or satisfactorily proven) tobe |
the person whose name is subscribed to the within instrument, and acknowledged that he executed
the same for the purposes therein contained.

IN WITNESS WHEREOE, | hereunto set my hand and official seal.

yd Pare

Notary Public ~-

My commission expires: Pobis
} VIVIAN G VI ANOVA

ID # 2038949

: : NOT8Y PUBLIC
The precise residence and the com plete post office STATE SE NEW JERSEY ,
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address of the above named Grantee is: My Commissiqn Expires May 1, 2018 [

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361 Maple Street, Moonachie, New Jersey 07074

On behalf of the Grantee

Case 3:18-cv-01617-MEM Document 1-15 Filed 08/16/18 Page 4 of 4

Instrument Number - 201623932
Recorded On 10/4/2016 At 4:30:06 PM
* Instrument Type - DEED - TAX EXEMPT
Invoice Number - 717278
* Grantor - GUTIERREZ, ANTONIO LUIS
* Grantee - GUTIERREZ, PAUL

User - TW

* Customer - POWLETTE & FIELD LLC

* FEES

STATE WRIT TAX $0.50
JCS/ACCESS TO JUSTICE $35.50
RECORDING FEES $13.00
AFFORDABLE HOUSING $13.00
COUNTY ARCHIVES FEE $2.00
ROD ARCHIVES FEE $3.00

TAX CODE CERTIFICATION $10.00
FEES
TOTAL PAID $77.00

Book: 2479 Page: 1457

COUNTY OF MONROE

RECORDER OF DEEDS
610 MONROE STREET
SUITE 125
STROUDSBURG, PA 18360
Area Code (5/70) 517-3969

Josephine Ferro - Recorder

Book - 2479 Starting Page - 1455
* Total Pages - 3

RETURN DOCUMENT TO:
POWLETTE & FIELD LLC

: MC GIS Registry UPI Certification
On October 4,2016 ByCAB

TAX ID #
V/ALSE/1/33
Total Tax IDs: 1

THerebv CERTIFY that this document 1s recorded in the
Recorder's Oifies of Monroe Coumy, Pennsylvania

THIS IS A CERTIFICATION PAGE

Do Not Detach

THIS PAGE IS NOW THE LAST PAGE
OF THIS LEGAL DOCUMENT

* _Tnformation denoted by an asterisk may change during
the verification process and may not be reflected on this page.

wT

